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 8
                                 UNITED STATES DISTRICT COURT
 9
10                                     DISTRICT OF ARIZONA

11        In Re Bard IVC Filters Products              No. MD-15-02641-PHX-DGC
          Liability Litigation
12                                                     PLAINTIFFS’ RESPONSE TO
                                                       DEFENDANTS’ MOTION TO
13                                                     EXCLUDE THE OPINIONS OF
                                                       REBECCA BETENSKY, PH.D.
14
15            Plaintiffs oppose Defendants’ Motion to Exclude the Opinions of Rebecca
16   Betensky, Ph.D. (“Motion” or “Mot.”) [Doc. 7288]. Plaintiffs incorporate in this response
17   their Omnibus Statement of Law and Generally-Applicable Arguments in Opposition to
18   Bard’s Motions to Exclude Plaintiffs’ Experts under Rule 702 and Daubert (“Omnibus
19   Mem.”) [Doc. 7799], filed contemporaneously herewith. For the reasons set forth herein
20   and in the Omnibus Memorandum, this Court should deny the Motion.
21   I.       INTRODUCTION
22            Bard’s challenge to the reliability of Dr. Betensky’s analysis (of adverse event
23   reporting rates for Bard’s retrievable filters compared to the 1995 Simon Nitinol Filter
24   (SNF)) should be denied. Dr. Betensky considered all available data and used an accepted
25   method for her analysis which is relevant to the issues in the case, will be helpful to the
26   jury, and can be relied on by experts with clinical training who can properly interpret the
27   results.
28
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 1          The best indicia of reliability of an expert’s methodology is whether it is deemed
 2   reliable outside of the courtroom. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152
 3   (1999). Here the answer is yes. The type of analysis at issue was also conducted by Bard
 4   to evaluate its filters, is routinely performed and relied on by device manufacturers and
 5   physicians, and can be found in peer-reviewed, published studies.
 6          Dr. Betensky’s analysis provides relevant evidence of a safety signal, plus
 7   independent and confirming evidence that Bard’s claim of “substantial equivalence” was
 8   not supported by reliable evidence. Contrary to Bard’s assertion that Dr. Betensky relied
 9   on MAUDE data (Mot. at 4, 5, 8, 12, 15), Dr. Betensky actually evaluated Bard’s own
10   sales figures combined with adverse event reports that Bard extracted from MAUDE, and
11   then compiled and vetted. (Ex. 1; Betensky Rpt., Jan. 27, 2017.) Dr. Betensky compared
12   these data for multiple Bard retrievable filters against data for the 1995 SNF—the
13   predicate device for the Bard Recovery filter—among multiple time-periods and several
14   different adverse event types. The reliability of Dr. Betensky’s work was enhanced
15   because she performed sensitivity analyses, a review of the data to correct errors made by
16   Bard when it made similar comparisons, (e.g., id. at 1, 4, 11, 12), and two additional
17   analyses—neither of which Bard challenges, and both of which are consistent with her
18   adverse event reporting rate analysis. 1
19          Dr. Betensky concluded that for most time-periods and most adverse events
20   considered, there was
21
22                      . 2 (Id.) Based on her analysis that the differences in adverse event
23   1
       The opinions not challenged by Bard include 1) a statistical analysis of a bench test
24   comparing Recovery and SNF migration resistance, showing that the Recovery filter
     migrated with less pressure than the SNF (Ex. 1, at 15-16); and 2) an analysis of Bard’s
25   estimates of how often various adverse events would occur, concluding that Bard
26   predicted that its later devices would fail more often than its earlier ones. (Ex. 2, Betensky
     Rept. Mar. 3, 2017).
27   2
       For some adverse events, the discrepancy in reporting rates was over 500%. For
     Recovery filter versus SNF migration events through July 2010, the disparity was over
28
     2500%.
                                                   2
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 1   reporting rates was so large, and after considering potential limitations, (Ex. 1, pp. 11-14),
 2   Dr. Betensky concluded that it is likely that                    (Mot. at 7, 10.) This
 3   opinion was based on an analysis of the data, with the conclusion that:
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 5
 6
 7
 8
 9   (Ex. 1., p. 11.)
10          Bard’s challenge to this opinion should be rejected because Bard repeatedly made
11   these same comparisons prior to this litigation and in the ordinary course of business. 3
12   Dr. Betensky made these comparisons because the 1995 version of the SNF was the
13   predicate to the Recovery filter, so the Recovery and each subsequent filter was based on
14   the SNF and Bard claimed, per FDA regulation, that they were all substantially
15   equivalent. (Ex. 6, p. 10.)
16          Dr. Betensky’s conclusion that it was likely
17               is based on a standard application of statistical techniques and careful analysis
18   of the available data. She concluded:
19
20
21                                                                                            This
22   analysis adds to and is consistent with the other evidence, because the large adverse event
23   reporting discrepancies likely represent a true difference in the rate of failures.
24
25
     3
26    See, e.g., Ex. 3 (Bard’s assessment that reporting rate of perforation, migration, fracture,
     and death for Recovery filter was over 400% more often than “all other filters.”); Ex. 4, at
27   36 (Bard chart showing
            ); Ex. 5 (Email from Bard VP asking
28
                                                                                 )
                                                     3
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 1   II.    ARGUMENT
 2          Bard’s motion should be denied for three reasons. First, the challenged analyses are
 3   based on accepted methods that Bard, the FDA, and other scientists use. Second,
 4   Dr. Betensky’s opinions mirror the analysis conducted by Bard’s consultant that Bard
 5   clawed-back as alleged “work-product.” Bard specifically argued that Plaintiffs’ experts
 6   could redo this work, which is exactly what Dr. Betensky has done. Bard should not now
 7   be permitted to exclude the very analysis it claimed was available to Plaintiffs in
 8   justifying its own internal analysis as privileged from discovery. Third, Bard’s challenge
 9   to the time periods Dr. Betensky used for her comparisons should be rejected because it
10   would have required her to analyze data for SNF that Bard refused to produce and is based
11   on speculation that is demonstrably untrue.
12          A.     Dr. Betensky used an accepted method that was used by Bard, is
                   recommend by the FDA, and is used in peer-reviewed literature.
13
            Dr. Betensky’s opinions are based on accepted methods 4 as demonstrated by the
14
     fact that 1) Bard itself not only uses these same data, but has confirmed through
15
     documents and testimony that it is reliable; 2) the FDA recommends that manufacturers
16
     use this information to conduct this type of analysis; 3) doctors making treatment
17
     decisions have published similar analyses of IVC filters; 5 4) case law supports admission
18
     of this evidence; and 5) multiple lines of evidence support Dr. Betensky’s opinion and
19
20
21   4
       Bard does not challenge Dr. Betensky’s qualifications as to her statistical analysis;
22   indeed she is eminently qualified to offer biostatistical opinions. She is the Director of the
     Biostatistics Program for the Clinical and Translational Science Center at Harvard
23
     University and of the Biostatistics Core for the Alzheimer’s Research Center at
24   Massachusetts General Hospital. She is also the Director of the neurostatistics and neuro-
     epidemiology training program at Harvard School of Public Health. She is a faculty
25   member at the Harvard-MIT Division of Health Sciences and Technology. She has taught
26   courses in biostatistics at the Harvard School of Public Health and has authored or co-
     authored 204 peer-reviewed articles relating to biostatistics.
27   5
       That treating physicians rely on this type of analysis makes it particularly pertinent to a
     failure-to-warn case where Plaintiff will show that Plaintiff’s doctors would have avoided
28
     the injuries claimed if they had this information.
                                                   4
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 1   conclusions, which cannot be taken in isolation and render her overall opinion more
 2   reliable.
 3                 1.      The data Dr. Betensky used were reliable as confirmed by Bard.
 4          Dr. Betensky did not use MAUDE data as Bard claims. Instead, she relied on
 5   Bard’s internal adverse event and sales data from more than 15 Bard datasheets, which
 6   Bard’s witnesses conceded were “complete and accurate,” “verified,” and “reliable,” 6 and
 7   “consistent with actual failure rates.” (Ex. 12 at 313:17-19 (testimony of Bard Peripheral
 8   Vascular President John McDermott).) Thus, any argument that MAUDE data are
 9   unreliable is not applicable to Dr. Betensky’s analysis.
10          While Bard’s adverse event data served as numerators for each time-period and
11   adverse event of interest, Dr. Betensky (like Bard) derived denominators from Bard’s
12   sales data. Dr. Betensky followed standard, reliable, statistical methods, including
13   multiple “sensitivity analyses,” as she testified in her deposition. 7 She also confirmed (as
14   did Bard), that the results of the statistical analysis were consistent with filter bench test
15   results. (Ex. 9 at 84:11-19, 89:5-23.)
16          Bard claims there are limitations to comparing SNF adverse event reporting rates
17   against those of retrievable filters. While interpreting these results requires consideration
18   of any potential limitations, Dr. Betensky did indeed identify, consider, and interpret her
19   results in light of such potential limitations. She concluded that the extremely large
20   magnitude of the disparities in adverse event reporting rates between SNF and the other
21   6
       Ex. 7 at 156:8-9; Ex. 8 at 114:6-116:2 (comparisons between Bard products were
22   reliable, and more reliable than MAUDE). Bard’s Motion omits the important fact that
     Dr. Betensky relied on data accumulated and verified by Bard. Dr. Betensky testified:
23
     “Q. So your opinions in this case are not based in any way on MAUDE data that you've
24   extracted from the database yourself? A. I have not extracted the data myself. I trusted
     that the company’s extractions of the data were a good, reliable source.” (Ex. 9 at 16:16-
25   21.) Bard documents further confirm with respect to the spreadsheets Dr. Betensky relied
26   on that “the accuracy of the data was verified” by Bard and “discussed with the
     independent consultant.” (Ex. 10, p. 7.) Bard used multiple personnel “to ensure that the
27   [adverse event data] is complete and accurate.” (Ex. 11 at 92:5-94:16.)
     7
       A sensitivity analysis is “a method [used by biostatisticians] . . . to test the reliability of
28
     some kinds of calculation or comparison.” (Ex. 9, at 84:1-10.)
                                                     5
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 1   filters indicated that there were more complications reported for the later filters. Id. at
 2   61:5-8, 101:18-111:22. 8 All scientific studies have limitations, and when an expert
 3   identifies and considers limitations, it does not diminish the reliability of the expert’s
 4   opinion, it strengthens it.
 5          Daubert does not require scientific evidence to be without flaws and limitations. In
 6   re Phenylpropanolamine (PPA) Prods. Liab. Litig., 289 F. Supp. 2d 1230, 1240 (W.D.
 7   Wash. 2003) (“Scientific studies almost invariably contain flaws”) (quoting Reference
 8   Manual and criticizing defendant’s “ex post facto dissection” of study); In re Orthopedic
 9   Bone Screw Prods. Liab. Litig., 1997 WL 230818, at *8 (E.D. Pa. May 5, 1997) (holding
10   that despite potential for biases in study that “may . . . render its conclusions inaccurate,”
11   study was sufficiently reliable to be admissible); Federal Judicial Center, Reference
12   Manual on Scientific Evidence 337 (2d ed. 2000) (“It is important to recognize that most
13   studies have flaws. Some flaws are inevitable given the limits of technology and
14   resources.”); Gastwirth, Reference Guide on Survey Research, 36 Jurimetrics J. 181, 185
15   (1996) (review essay) (“One can always point to a potential flaw in a statistical
16   analysis.”).
17          Moreover, in the normal course of business, Bard used a similar method for
18   comparing adverse event rates and sales data. (Ex. 16-22; see also n.3, supra.) Bard also
19   used analyses of its adverse event data to defend its product to the medical community
20   and public. (Ex. 23) (representing that “there is no significant difference in the rates of
21   (migration) complications between competitive devices, including Recovery”). (Ex. 23 at
22   922.) Elsewhere, Bard endorsed use of adverse event data, by telling doctors that the
23   “only way” to compare migration rates for different filters was “to review the number of
24   reported incidents to the FDA MAUDE database.” (Ex. 24.) The evidence will show that
25
26   8
       Bard’s claim that Dr. Betensky lacks the expertise to evaluate potential limitations is
27   without merit. She considered the potential limitations by evaluating trends in the data as
     a biostatistician, Ex. 1, pp. 11-14, while experts who relied on her report evaluated it using
28
     their clinical expertise. E.g., Ex. 13, ¶ 314; Ex. 14, ¶ 111; Ex. 15, ¶ 33.
                                                    6
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 1   Bard’s disclosures to doctors of its comparative analyses were false and misleading;
 2   Dr. Betensky’s analysis is also relevant for this purpose.
 3                   2.     The FDA recommends comparison of reporting rates and Bard’s own
                            biostatistician agreed with this recommendation.
 4
              As noted above, Dr. Betensky did not use MAUDE data—she used Bard’s adverse
 5
     event data which had been compiled, reviewed, vetted, and verified by Bard, and thus are
 6
     more reliable. There is, however, an obvious relationship between the MAUDE data and
 7
     Bard’s data, so the FDA’s position on the appropriate use of MAUDE may be of interest
 8
     to the Court. In referencing relevant FDA guidelines, Bard omitted the full FDA position,
 9
     which is that the adverse event data should be used to calculate adverse event reporting
10
     rates:
11            Although we recognize these limitations, we recommend that sponsors
              calculate crude adverse event reporting rates as a valuable step in the
12            investigation and assessment of adverse events. . . . Comparisons of reporting
              rates and their temporal trends can be valuable, particularly across similar
13            products or across different product classes prescribed for the same indication. 9
14   (Ex. 25, 2005 FDA Guidance.) Bard’s own biostatistics expert testified that this guidance
15   document is good advice for device manufacturers, (Ex. 26, at 168:8-169:6), and its
16   regulatory expert supports the use of adverse event analyses for regulatory decisions, (Ex.
17   27, at 69:9-14; 71:18-72:23; 79:16-80:1).
18            Analytically, this type of analysis applies with even more force to adverse event
19   reports pertaining to medical devices because the causal relation is apparent. This is
20   particularly true with IVC filters where migration, fracture, tilt, and penetration can be
21   visualized using imaging.
22                   3.     Reporting rates are used in peer reviewed literature.
23            Scientists and physicians outside the litigation setting have used and analyzed
24   MAUDE data to assess risk and to compare medical device safety records, and have
25
     9
26     Implicit in the FDA statement is the premise that calculation of an adverse event
     reporting rate requires both a numerator (adverse event reports) and a denominator
27   (sales). Both Bard and Dr. Betensky, used sales data for the denominator. Nowhere does
     the FDA advise against using MAUDE with a denominator to calculate adverse event
28
     reporting rate.
                                                     7
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 1   published those results in the peer reviewed medical literature. Notably, two independent
 2   medical research teams used and analyzed MAUDE adverse event data for IVC filter
 3   complications (including Bard’s filters) in two published studies. 10 Thus, outside of the
 4   courtroom, MAUDE data are deemed sufficiently reliable that scientists and physicians
 5   are using it to understand safety profiles and comparative complication rates of medical
 6   devices.
 7          Doctors and hospitals also use the MAUDE database to evaluate the safety of
 8   medical products. For example,
 9                                                . (Ex. 28 at 244:22-245:7.) As noted by
10   Dr. Betensky in her rebuttal report (Ex. 31 n.5), multiple other researchers used MAUDE
11   data to assess safety of other medical devices and published their results in the peer
12   reviewed medical literature. 11 The fact that these data are sufficiently reliable for
13   epidemiologists and physicians to both rely on and to publish is a strong indicator that the
14   data used in Dr. Betensky’s analysis meet and exceed the Daubert threshold for
15   scientifically valid method. Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1318
16   (9th Cir. 1995) (“Daubert II”) (citing Daubert, 509 U.S. at 594) (“That the research is
17   accepted for publication in a reputable scientific journal after being subjected to the usual
18   rigors of peer review is a significant indication that it is taken seriously by other scientists,
19   i.e., that it meets at least the minimal criteria of good science.”).
20
     10
21      Ex. 29, Andreoli (2014) (comparing “the safety of permanent and retrievable . . . (IVC)
     filters by reviewing the . . . (MAUDE) database,” and concluding that “complications
22   occur with significantly higher frequency with [retrievable IVC filters] compared with
     [permanent IVC filters].”; same conclusion as Dr. Betensky using more reliable data.); Ex.
23
     30, Angel (2011) (comparing different filters using MAUDE and sales data).
     11
24      See, e.g., Ex. 32, Dibardino (2009) (MAUDE and other data used to calculate
     comparative complication rates of devices for treating congenital heart disease, in a study
25   conducted by Harvard Medical School cardiologists and cardiac surgeons); Ex. 33,
26   William (2009) (MAUDE-based “failure rate analysis” of femoral stem fractures); Ex. 34,
     Thennukonda (2015) (analysis of MAUDE adverse event data regarding dental ultrasonic
27   scalers); Ex. 35, Harth (2009) (analysis of MAUDE data to assess safety of xenograft
     biologic mesh); Ex. 36, Delaney (2007) (assessment of safety of atrial septal occluding
28
     devices using MAUDE, conducted by pediatric cardiologists).
                                                     8
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 1                  4.    Case law supports admissibility of this evidence.
 2          Bard made the same challenge concerning the reliability of the MAUDE data and
 3   an expert’s analysis based on those data in a prior district court case involving the G2
 4   filter. That court rejected Bard’s Daubert challenge, and allowed the plaintiff’s expert to
 5   testify about his statistical analysis and comparisons with the SNF, leaving any challenge
 6   to cross-examination. Tillman v. C.R. Bard, Inc., 96 F. Supp. 3d 1307 (M.D. FL 2015).
 7   The Tillman court was influenced by Bard’s use of the same data for a similar analysis.
 8   Id. at 1332.
 9          Other courts also have allowed experts to rely on MAUDE adverse event data
10   regarding other devices. For example, Theofanis v. Boston Sci. Corp., No. IP-01-752-C-
11   Y/K, 2005 WL 731080 (S.D. Ind. Mar. 16, 2005), concerned the safety of a medical
12   device that consists of a rotating diamond-coated burr maneuvered by a physician through
13   a flexible catheter to a patient’s artery. The manufacturer challenged the opinions of the
14   plaintiff’s causation expert, who considered several lines of evidence to support his
15   opinions, including review of MAUDE data. Id. at *3. The court concluded that the
16   opinions were admissible, in part because the expert relied on multiple lines of evidence.
17   Id.; accord Thompson v. DePuy Orthopaedics, Inc., No. 1:13-CV-00602, 2015 WL
18   7888387, at *5-7 (S.D. Ohio Dec. 4, 2015) (rejecting Daubert challenge to expert who
19   reviewed MAUDE data regarding bone cement as part of his product defect analysis). 12
20          The cases relied on by Bard, (Mot. at 13-14), are distinguishable because none
21   involved experts who analyzed MAUDE data, let alone an extraction and refinement of
22   those data by the manufacturer itself, with additional verification procedures. First,
23   Accutane, Rider, Haggerty, Gadolinium-Based Contrast Agents and In re Denture Cream
24
     12
       Some courts have excluded opinions based on MAUDE where the expert did not rely
25   data in addition to MAUDE. See, e.g., Horrillo v. Cook Inc., No. 08-60931-CIV, 2014
26   WL 2708544, at *4 (S.D. Fla. June 6, 2014); accord Franco v. Boston Scientific Corp.,
     2016 WL 3248505, at *9 (W.D. W.V. June 13 2016) (“Because [the expert’s] opinion on
27   post-market vigilance appears to be entirely based on data—or lack thereof—found in the
     MAUDE database, I find it unreliable.”). There are no such problems with Dr. Betensky’s
28
     opinions.
                                                   9
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 1   all involved adverse event reports for pharmaceuticals (i.e., the FAERS database), or case
 2   reports—in contrast to MAUDE, which is an FDA adverse event database exclusively for
 3   medical devices. Second, all of the aforementioned cases were concerned with the issue
 4   of whether the expert testimony proved that the product at issue caused the injury; they
 5   did not involve a comparison of adverse event reporting rates between devices.
 6          This is an important difference: As the Tillman court noted, Bard’s cases should be
 7   distinguished because “[C]riticisms of the use of [AERS] as a basis for comparing the rate
 8   of adverse reactions to drugs . . . are a much less significant issue when evaluating the
 9   relative failure rate of medical devices [because] . . . MAUDE . . . is a highly reliable
10   source of information, as a device failure is not attributable to any cause other than a
11   failure of the device.” Tillman at 1332. In other words, when an IVC filter tilts, fractures,
12   migrates, or perforates, the relationship between the filter and complication is quite
13   obvious. In contrast, an adverse event associated with a medication is often more
14   speculative, i.e., was the injury caused by the medication or by something else? The
15   holding in Gadolinium is instructive because while that court did not allow experts to
16   opine that the drug at issue was more likely to cause the disease at issue based on adverse
17   events alone, it ultimately allowed the testimony because there were other indicia of
18   reliability, including use by the FDA: “AERs form only one of numerous bases for their
19   opinions. The same bases and methodology have been used by the [relevant FDA office]
20   in reviewing the relative risk of [the drug at issue], supporting the reliability of Plaintiffs’
21   expert opinions.” In re Gadolinium-Based Contrast Agents Prods. Liab. Litig., No. 1:08
22   GD 50000, 2010 WL 1796334, at *11 (N.D. Ohio May 4, 2010). The Court concluded
23   that the Defendant “is free to cross-examine Plaintiffs’ experts regarding the flaws in
24   adverse event reporting.” Id.
25                 5.      Other lines of evidence support Dr. Betensky’s conclusions.
26          Bard’s argument for the exclusion of Dr. Betensky’s testimony is directed only at
27   her analysis of adverse event reporting rates. Bard does not address at all her opinions
28   related to other lines of evidence, which include an analysis of some of Bard’s internal

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 1   risk assessment documents and a statistical analysis of Bard’s migration resistance bench
 2   testing.
 3          Dr. Betensky reviewed a series of Bard documents entitled
 4                                  in which Bard made estimates about the failures that would
 5   occur with each device. (Ex. 2.)
 6
 7               (Id. at 1.) After evaluating the predictions that Bard made, Dr. Betensky
 8   concluded that for failures like perforations and migrations,
 9
10
11   (Id. at 2-7.) With some filters, Bard predicted
12                          (Id. at 5, 6.)
13                                                                                 (Id. at 7.)
14   Dr. Betensky also considered migration resistance bench testing that compared the
15   Recovery and SNF. (Ex. 1, at 15-16.) In this analysis, Dr. Betensky concluded that
16
17                                                                                               (Id., p.
18   16.) Bard does not argue that these conclusions should be excluded.
19          Moreover, Dr. Betensky’s three main analyses are part of a larger picture, and thus
20   cannot be ignored or considered separately, as Bard attempts to do. Several additional
21   lines of evidence provide independent corroboration of Dr. Betensky’s analyses, including
22   clinical trials, medical literature, internal documents and bench tests, and engineering
23   analyses.
24          First, clinical trials and medical literature confirm that Bard’s retrievable filters are
25   more likely to fail than other filters. Bard’s 61-patient, G2 clinical trial (EVEREST),
26   demonstrated that G2 migrations occurred in 12.2% of filters, caudal migration occurred
27   in 66%, penetration in 21.7%, and tilt in 18.1%. (Ex. 37, at 1452 (Binkert (2009); Ex. 13
28   ¶¶ 416, 428-29.) Similarly, the 32-patient study of Recovery filter by Dr. Asch, found a

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 1   3.7% migration rate and a 3% fracture rate. (Id. at 84, ¶ 489, n. 24.) 13 These rates are
 2   high when compared with SNF Data (Ex. 38, p. 1) (180-patient, 6-month SNF clinical
 3   trial reported no fractures and migrations in 0.8% of patients). 14
 4          Second, Bard documents indicate that Bard’s migration resistance bench tests show
 5   retrievable filters performing worse than SNF. Ex. 44 at 973-74; Ex. 45 at 449; Ex. 46 -
 6   47.
 7          Third, engineering analyses confirm that the design of Bard’s retrievable filters
 8   render them prone to failures. Dr. McMeeking noted that in some conditions the G2 filter
 9   will experience
10                          (Ex. 48, at 9, 10.) He arrived at similar conclusions with respect to
11   the G2x, Eclipse, Meridian, and Denali filters. (Id. at 13-25.) Dr. Ritchie conducted
12   microscopic evaluation of fractured filters and concluded that
13
14                                 (Ex. 49, at 33-34.) In contrast, Dr. McMeeking evaluated the
15   SNF design and concluded that                                                          (Ex.
16   50, at 10), and that the SNF had
17                                                                                          (Id. at
18   13-15).
19
20
21
22
     13
        See also Ex. 39, Tam (2011) (“5.5-year fracture risk of 40%.”); Ex. 40, An (2014)
23
     (“estimated 5-year fracture prevalence was 38% (95% confidence interval, 22.9%,
24   54.8%)”); Ex. 41, Deso (2016) (reporting 38% fractures up to 60 months from implant).
     Ex. 42, Nicholson (2010) (reported migration rate exceeding 20% in Recovery and G2
25   filters; fracture rate of 25%); Ex. 43, Hull (2009) (“Recovery filter limb perforation . . .
26   increases over time and is associated with a 21% incidence of filter arm fracture and
     migration.”).
27   14
        The Everest, Asch, and SNF trials had relatively short follow-up periods that could not
     capture complications that occurred after the follow-up period. This is relevant because
28
     multiple studies have reported increased complication risk with longer implant time.
                                                   12
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 1          B.     Bard argued in this case that Plaintiffs could redo a similar
                   analysis for which it claimed work-product protection; it
 2                 would be unfair for Bard to now have this very analysis
                   excluded.
 3
            Bard commissioned a consultant, Dr. Lehmann, to do several comparisons between
 4
     Bard’s retrievable filters and the SNF and competitor products—very similar to the
 5
     analysis at issue here. The report that detailed those analysis was held to be work product,
 6
     in part, because Bard argued, and the Court held, that Plaintiffs “have full access to all of
 7
     the data analyzed in Dr. Lehmann’s report and . . . their experts can . . . perform the same
 8
     analysis.” (Ex. 51, at 13 (Pre-Trial Order, 2/11/16).) Bard should not now be heard to
 9
     argue that this very analysis, which if presented from Bard’s documents would otherwise
10
     be a party-admission, should be excluded because it was conducted by Plaintiff’s expert.
11
            C.     Bard speculates about adverse events reported for SNF prior to 2000.
12
            Bard’s speculation that adverse event reports regarding SNF prior to 2000 have any
13
     impact on the analysis fails for multiple reasons. First, as noted above, Bard conducted
14
     similar comparisons of adverse event reports for SNF and other filters, limited to data
15
     after 2000. Second, Bard refused to produce documents regarding pre-2000 adverse event
16
     reports related to the SNF, which prevented Dr. Betensky from considering those data.
17
     Third, Bard’s argument is based on speculation about the “Weber Effect.” Fourth,
18
            Plaintiffs have access to some of these data, 15 and analysis of adverse event reports
19
     before 2000 show that they would strengthen, not weaken, Dr. Betensky’s conclusions. 16
20
                   1.     Bard compared SNF adverse event reports with later filters limited to
21                        data from 2000 and later.
22          As demonstrated below, adverse event reports of SNF before 2000 make no

23   difference to Dr. Betensky’s analysis. Indeed, back when Bard was concerned with

24   adverse events related to the Recovery filter (2002-2005), Bard conducted similar

25
     15
26      Some of the production related to the Recovery and later filters contained hidden rows
     that were recently discovered to contain adverse event reports relating to the SNF.
27   16
        The version of the SNF relied on as the predicate for the Recovery Filter was cleared by
     the FDA on April 28, 1995 (#K944353), so events prior to this date are not relevant to the
28
     comparison. (Ex. 13, ¶ 467).
                                                   13
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 1   comparisons with data for SNF limited to 2000 and later. 17 As in Gadolinium-Based
 2   Contrast Agents, independent use of the same method and data is an independent
 3   indication of reliability. 2010 WL 1796334, at **2, 6.
 4                  2.     Bard refused to produce documents relating to SNF.
 5            As noted above, Dr. Betensky had incomplete access to Bard’s adverse event data
 6   for SNF because Bard refused to produce it. It would be prejudicial for the Court to
 7   exclude expert opinions when Bard claimed that the data were not relevant in the first
 8   place.
 9                  3.     Bard’s Weber effect claim is speculative.
10            Bard speculates that the “Weber effect” resulted in an increased reporting of SNF
11   adverse events prior to 2000 that were not considered by Dr. Betensky. As a threshold
12   matter, this is a cross-exam or impeach argument at trial, not an argument for exclusion.
13   And while factually this proposition is demonstrably false (see below), the hypothesis
14   itself is speculation that has not been demonstrated for medical devices and has been
15   disproven for prescription drugs. Hoffman (2014) (Ex. 56) (analysis of 62 drugs showed
16   “most of the modern adverse event reporting… does not follow the pattern described by
17   Weber.”). Even if one were to assume that this effect might play a role with prescription
18   drugs, Bard has offered nothing more than speculation that it occurs with medical devices.
19   Even Bard’s biostatistics expert, Dr. Thisted, testified that he has not seen any papers
20   discussing the “Weber effect” in the context of medical devices. (Ex. 26 at 123:10-16.)
21   The purported Weber effect argument asserted by Bard itself lacks Rule 702 indicia of
22   reliability.
23                  4.     There are few adverse event reports between 1992 and 1999.
24            With respect to the adverse event reports for the SNF from April 1995 through
25   December, 1999, there are no reports of fracture and very few reports of migration,
26   17
       See, e.g., Ex. 52, at 297 (comparing adverse events for SNF and other filters with
27   Recovery from “2000 to present”); Ex. 53 (chart documenting
                                                        ); Ex. 54 (same for time-period
28
               ); Ex. 55 (same, showing data from            ).
                                                  14
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 1   perforation, or tilt. Bard produced a spreadsheet that contains a listing of adverse event
 2   reports from 1992 through July, 2010. (BPVE-01-01054793.) Dr. Betensky relied on this
 3   spreadsheet in forming her opinions (Ex. 1, at 1), but the SNF data before 2000 was
 4   hidden in the electronic file by Bard and only recently discovered. When these data were
 5   revealed, there are only 13 reports from 1992-2000 that mention migration, (Ex. 57), and
 6   7 of 13 involved deployment issues or stated that migration was not a concern. Similarly,
 7   there are only 6 reports of tilt, 4 of which were deployment issues, leaving 2 reports of
 8   SNF tilt in an 8-year period. (Ex. 58). Finally, there are 3 perforation reports, 2 of which
 9   involved placement, leaving one such report in an 8-year period. (Ex. 59.) 18 Bard did not
10   come forward with any evidence to show that adverse event reports before 2000 had any
11   impact on Dr. Betensky’s calculations or results because it could not.
12   III.   CONCLUSION
13          Dr. Betensky’s opinions as to adverse event rates result from a careful and rigorous
14   analysis of Bard’s own data that corrects for errors made by Bard employees when they
15   made similar calculations. Because this type of analysis is recommended by the FDA,
16   consistent with and accepted in the field of biostatistics, and available in the published
17   literature, it should not be excluded. Bard has not argued for the exclusion of
18   Dr. Betensky’s other opinions, and they should likewise be permitted.
19          RESPECTFULLY SUBMITTED this 27th day of September 2017.
20                                              GALLAGHER & KENNEDY, P.A.
21                                              By: /s/ Mark S. O’Connor
22                                                  Mark S. O’Connor
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     18
       Dr. Eisenberg reviewed these pre-2000 data and testified that it would not impact
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     Dr. Betensky’s analysis. (Ex. 60 at 266:22-267:2).
                                                  15
     Case 2:15-md-02641-DGC Document 7809 Filed 09/27/17 Page 16 of 16



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 6                                 CERTIFICATE OF SERVICE
 7          I hereby certify that on this 27th day of September, 2017, I electronically
 8   transmitted the attached document to the Clerk’s Office using the CM/ECF System for
 9   filing and transmittal of a Notice of Electronic Filing.
10                                                   /s/ Gay Mennuti
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